1. The County Board of Education of Telfair County is empowered by law to fix the area to be served by each public school and to locate the site of the schoolhouse therein as near the center of the area served as practicable, and such action by the county board is final unless objections are filed, in which event a hearing by the board must be held and a decision rendered on the objections made. Only such latter decision by the county board is reviewable on appeal to the State board.
(a) The State Board of Education being a tribunal with limited jurisdiction for hearing appeals, matters essential to its jurisdiction must appear *Page 153 
on the face of its decision, and where as here the decision of the State board affirmatively shows that there was before it on appeal no decision of the county board rendered after hearing objections or complaints, the State board was without jurisdiction and its decision is a nullity.
(b) The action of the county board in fixing the location for the schoolhouse, not having been objected to, is final, and the court did not err in its judgment refusing to enjoin the county board from building the schoolhouse at the site thus chosen.
       No. 16003. NOVEMBER 10, 1947. REHEARING DENIED DECEMBER 2, 1947.
Suit by an individual as a taxpayer and patron of a public school to enjoin the County Board of Education from locating the schoolhouse site as planned by the board. In 1938 the Ocmulgee School District of Telfair County, Georgia had adopted the local taxation and voted a bond issue for the purpose of acquiring a site and building a schoolhouse in the district. A majority of the trustees selected Jacksonville as the site for the schoolhouse, and the minority appealed to the county board, which affirmed the decision of the trustees; and from the decision of the county board an appeal was taken to the State Board of Education, which reversed the county board and designated China Hill as the site for the schoolhouse. The schoolhouse was erected at China Hill from the proceeds of the bond issue. In 1945 this schoolhouse was destroyed by fire, and $28,000 insurance was collected therefor. In June, 1946, the County Board of Education, on motion of one of its members to combine the area of what had been the Ocmulgee School District with the area of what had been the Uniondale District into one school area and to locate the site for a school building at Jacksonville, which was approximately the center of the area allocated by the board to the one school, unanimously approved the motion. Thereupon H. G. Boney and other residents and patrons of the school area filed with the County School Superintendent an appeal to the State board from the action of the county board in fixing the site of the schoolhouse at Jacksonville. The State board reversed the county board and directed that the schoolhouse be erected at China Hill. In April, 1947, the State board rescinded and vacated its order of July, 1946, locating the schoolhouse at China Hill. The parties objecting to the action of the county board brought this action in the superior court, seeking to enjoin *Page 154 
the county board from locating the school building at Jacksonville until an appeal could be heard by the State board, and after the decision of the State board in 1946 the suit was amended and it was prayed that the county board be enjoined from locating the schoolhouse at any place except at China Hill. In transmitting the appeal to the State board the County School Superintendent certified that the records of the county board disclosed substantially the foregoing facts up to the time of the appeal, and also recited that when the schoolhouse was located at China Hill it was nearer the center of the Ocmulgee School District than was the Jacksonville site, but that since the action of the board in uniting the area of the Uniondale and Ocmulgee Districts, which was taken on the same day that Jacksonville was chosen as the site for the schoolhouse, Jacksonville was nearer the center of that area than was China Hill. The certificate recites that, in arriving at this conclusion to unite the areas and locate the school building, the board had considered from time to time the fact that Jacksonville was a village with housing facilities available for school teachers and offered greater security for the schoolhouse against fire, and that the board had experienced difficulty in obtaining the best teachers for the school with the schoolhouse located at China Hill, due to its isolation, and that most of the materials not destroyed by fire could be utilized in the building to be located at Jacksonville, and that the board was expecting shortly to receive from the Federal Government materials to construct temporary buildings, all of which considerations entered into the decision of the board to consolidate the areas and locate the school building at Jacksonville.
These facts appearing from the pleadings and the evidence before the judge at the interlocutory hearing, judgment was rendered denying an interlocutory injunction, and the petitioner excepted.
This court in Keever v. Board of Education of GwinnettCounty, 188 Ga. 299 (3 S.E.2d 886), asserted that the law had wisely entrusted the operation of the public schools to the county *Page 155 
boards of education, vesting in them wide discretionary powers. It then said: "These men being chosen as they are by the grand juries of their respective counties, without their solicitation, and rendering public service without compensation, may safely be entrusted with this vital responsibility; and unless it is made clearly to appear that they are acting in violation of law or grossly abusing their discretion, their conduct of the schools of the counties will not be enjoined by the courts." We adhere to that ruling, and unless it is shown by this record that the County Board of Education of Telfair County has acted in violation of law or has grossly abused its wide discretion, the judgment refusing to enjoin it must be affirmed.
The Code, § 32-910, constitutes the county board of education a tribunal for hearing and determining local controversies in reference to the construction or administration of the school laws. It makes their decisions final unless an appeal to the State board is taken. It requires that such appeal be in writing, that it set forth the question in dispute, the decision of the county board, and the "testimony as agreed upon by the parties to the controversy, or if they fail to agree, upon the testimony as reported by the county superintendent of schools." In thus requiring that the appeal contain the testimony heard by the county board, the law shows an intent that the State board be restricted at the hearing on appeal to the testimony previously considered by the county board. This would prohibit a de novo trial by the State board. This is further supported by the fact that the law has given the county board wide discretionary powers, and whether or not it has abused its discretion can be ascertained only by a consideration of the testimony which it heard and upon which its decision is based. The conclusion is in harmony with the further policy of the law to give to the local authorities as much power and responsibility as possible for the conduct of the public schools. It accords with the undeniable fact that the members of the county board, being familiar with the local conditions and circumstances, are in a better position to adjust local matters to existing conditions than the State board, which is far removed.
The provisions of the law which specify the essentials of an appeal show that only the decisions of the county board made on disputed issues are appealable. If there has been no issue *Page 156 
heard and decided by the county board, there can be no parties and no testimony which the law authorizing an appeal contemplates. We think that this court in Meadows v. Board ofEducation, 136 Ga. 153 (71 S.E. 146), clearly indicated that, as a condition precedent to an appeal, there must be an issue made and tried by the county board. It is there said, at page 156: "If the county board has improperly located the school site in the Brownsville District, the complaining parties are afforded a right to be heard before the board sitting as a court; and ifthat board upon the testimony submitted decides against thecomplainants, they are given the right of appeal." If any parties are dissatisfied with the action of the county board, they must file a complaint and submit such evidence as they desire to that board which is empowered by law to sit as a tribunal for the purpose of deciding such issues. If no objection or complaint is filed with the county board, its decision is final and presumably is satisfactory to all parties concerned. The county board rather than the State board is empowered to hear testimony on all such complaints, and it exercises its discretion before the State board is authorized to review the decision of the county board on an appeal. Undoubtedly the legislature never intended that appeals to the State board should impose the expense and inconvenience of transporting witnesses and evidence to the State Capitol for introduction and consideration for the first time on the issues involved. Both the county board for the purpose of the original trial, and the State board for a trial on appeal, are by law made tribunals with limited jurisdiction.Meadows v. Board of Education, supra; Jarrell v. Davis,137 Ga. 55 (72 S.E. 417); Edge v. Garrett, 138 Ga. 93
(74 S.E. 758); Bryant v. Board of Education, 156 Ga. 688
(119 S.E. 601); Board of Education v. Huddleston, 174 Ga. 761
(163 S.E. 887). It is settled law that the judgment of a tribunal of limited jurisdiction must show upon its face such facts as are necessary to give the tribunal rendering the same jurisdiction, or else such a judgment is void. It was held by this court in Thompson v. Talmadge, 201 Ga. 867
(41 S.E.2d 883), that, "As to courts, it is a well-settled principle that every presumption will be indulged in favor of judgments of a court of general jurisdiction, but that a judgment of a court of special or limited jurisdiction must show upon its face such *Page 157 
facts as are necessary to give the court rendering such judgment jurisdiction of the person and the subject-matter, otherwise the whole proceeding is coram non judice and void. Gray v.McNeal, 12 Ga. 424; Franklin County v. Crow, 128 Ga. 458
(3) (57 S.E. 784). Like principles are applicable to the General Assembly, so that in electing a Governor it would necessarily act as an agency or body of special and limited
jurisdiction, and the facts essential to the existence of its jurisdiction in such matter should affirmatively appear." Applying this principle of law to the decision of the State Board of Education here involved, it must be held that, since that decision shows that no appealable decision upon a local controversy by the County Board of Education was brought under review, the State board was without jurisdiction to render the decision locating the schoolhouse at a site different from that designated by the county board. The decision of the State board not only fails to show jurisdiction, but affirmatively shows that such board was without jurisdiction. Accordingly, the trial court did not err in refusing to enjoin the County Board of Education from erecting the schoolhouse at the site fixed by that board in virtue of the authority conferred upon it by law.
Judgment affirmed. All the Justices concur, except Wyatt, J.,who took no part in the consideration or decision of this case.